                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

CARPENTERS PENSION TRUST                     )
FUND OF KANSAS CITY,                         )
a Trust Fund, et al.,                        )
                                             )
                      Plaintiffs,            )       Case No. 18-00414-CV-W-ODS
                                             )
vs.                                          )
                                             )
BRADFORD INTERIOR GROUP, LLC,                )
                                             )
                      Defendant.             )

AMENDED ORDER (1) FINDING DEFENDANT BRADFORD INTERIOR GROUP, LLC
 IN DEFAULT, AND (2) ORDERING DEFENDANT TO SUBMIT TO AN INSPECTION
                   AND ACCOUNTING OF ITS RECORDS
      On August 22, 2018, the Court entered an order finding Defendant in default, and
directing Plaintiffs’ to submit evidence on damages. Doc. #11. Later that day, Plaintiffs’
counsel contacted Chambers via telephone to state the need for an inspection of
Defendant’s records prior to submitting evidence of damages and seeking a default
judgment. As stated in its August 22, 2018 Order, the Court finds Defendant in default.
Doc. #11, at 1. The Court amends its August 22, 2018 Order as follows:
      (1) The Court strikes Plaintiffs’ September 24, 2018 deadline to submit evidence
on damages as contemplated by Federal Rule of Civil Procedure 55(b)(1).
      (2) Plaintiffs are entitled to both equitable and monetary relief. The equitable
relief includes an order directing Defendant to submit to an inspection and accounting of
its books and records, and the monetary relief cannot be assessed until this is done.
Accordingly, Defendant is ordered, within sixty days of this Order, to submit its books,
records, and other financial documents to Plaintiffs so they may be examined and an
accounting performed. The accounting shall be designed to determine the
contributions, liquidated damages, and interest that may be due and owing Plaintiffs
from January 1, 2017, to the present under the relevant collective bargaining
agreements between Plaintiffs and Defendant as set forth in the complaint (Doc. #1).




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Defendant is advised that failure to comply with this Order may result in a finding that
Defendant (or its principals) is in contempt of court.
       (3) Upon completion of the inspection and account ordered above, Plaintiffs shall
file appropriate documents and materials described in Federal Rule of Civil Procedure
55(b)(1) to satisfy the requirements for default judgment.
       The Clerk of the Court is directed to send two copies, one via certified mail and
one via regular mail, of this order to:
       Rondale Bradford
       6220 Arlington Ave.
       Raytown, MO 64133

       Rondale Bradford
       9546 E. 57th Terr.
       Raytown, MO 64133

IT IS SO ORDERED.

                                                   /s/ Ortrie D. Smith
DATE: August 23, 2018                              ORTRIE D. SMITH, SENIOR JUDGE
                                                   UNITED STATES DISTRICT COURT




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